        Case 1:24-cv-13204-ADB          Document 9       Filed 02/14/25      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                             )
DAN HOWITT,                                  )
                                             )
       Plaintiff,                            )
v.                                           )       Civil No. 24-cv-13204-ADB
                                             )
SUZANNE ANDEWAY,                             )
                                             )
       Defendant.                            )
                                             )

                                            ORDER

BURROUGHS, D.J.

       1.      The motion for leave to proceed in forma pauperis, [Dkt. No. 2], is ALLOWED.

       2.      The Clerk shall issue a summons and Plaintiff is responsible for ensuring that the

summons, complaint, and this order are served in accordance with Rule 4 of the Federal Rules of

Civil Procedure.

       3.      The motion for the court to serve notices to defendant, [Dkt. No. 5], is DENIED.

Because Plaintiff is proceeding in forma pauperis, he may elect to have the United States

Marshals Service (“USMS”) complete service with all costs of service to be advanced by the

United States. If the plaintiff chooses to have service completed by the USMS, he shall provide

the agency with a copy of this order, all papers for service, and a completed USM-285 form for

each party to be served. The USMS shall complete service as directed by the plaintiff with all

costs of service to be advanced by the United States. The Clerk shall provide the plaintiff with a

blank USM-285 form and instructions for service.

       Plaintiff may choose an alternative to serving a defendant with the summons and

complaint by offering a defendant the option to waive service of the summons. See Fed. R. Civ.
          Case 1:24-cv-13204-ADB         Document 9        Filed 02/14/25      Page 2 of 2




P. 4(d). Rule 4(d)(1) provides that an individual who is subject to service of a summons and

complaint “has a duty to avoid unnecessary expenses” to the plaintiff of making service. Fed. R.

Civ. P. 4(d)(1). A plaintiff may notify a defendant that a lawsuit has been filed against the

defendant and ask the defendant to waive service of summons. Id. The notice and request for

waiver must be in writing, addressed to the individual defendant; name the court where the

complaint was filed; be accompanied by a copy of the complaint, two copies of the waiver form,

and a prepaid means for returning the form; inform the defendant of the consequences of waiving

and not waiving service; state the date the waiver request is sent; give the defendant a reasonable

time to return the waiver; and be sent by first-class mail or other reliable means. Fed. R. Civ. P.

4(d)(1)(A)-(G).

          4.   The plaintiff shall have 90 days from the date of the issuance of the summons to

complete service. Failure to complete service within 90 days may result in dismissal of the

action without further notice from the Court. See Fed. R. Civ. P. 4(m); Local Rule 4.1 (D.

Mass.).

          SO ORDERED.

February 14, 2025                                             /s/ Allison D. Burroughs
                                                              ALLISON D. BURROUGHS
                                                               U.S. DISTRICT JUDGE




                                                 2
